 Case: 4:10-cr-00014-HEA         Doc. #: 145 Filed: 07/13/10          Page: 1 of 1 PageID #:
                                            389



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
v.                                          )       No. 4:10CR14 HEA
                                            )
CHERYL PERRY,                               )
                                            )
              Defendant.                    )

                                            ORDER

       IT IS HEREBY ORDERED that the sentencing hearing previously set in this matter for

Tuesday, July 13, 2010, is reset to Tuesday, August 31, 2010, at 10:45 a.m. in the courtroom of

the undersigned.

       Dated this 13th day of July, 2010.




                                            ________________________________
                                               HENRY EDWARD AUTREY
                                             UNITED STATES DISTRICT JUDGE
